           Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 1 of 7                     FILED
                                                                                   2023 Oct-03 AM 11:13
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

MELISSA FENDLEY,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

LGP REALTY HOLDINGS LP,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues LGP REALTY HOLDINGS LP, for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

                                           1
           Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 2 of 7




pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff,   MELISSA      FENDLEY       (hereinafter   referred   to   as

“FENDLEY”) is a resident of Jefferson County, Alabama and is a qualified

individual with a disability under the ADA.          FENDLEY suffers from what

constitutes a “qualified disability” under the Americans with Disabilities Act of

1990, (“ADA”) and all other applicable Federal statutes and regulations to the extent

that she suffers from paraplegia and requires a wheelchair for mobility. Prior to

instituting the instant action, FENDLEY visited the Defendant’s premises at issue in

this matter numerous times, and was denied full, safe and equal access to the subject

properties due to their lack of compliance with the ADA. FENDLEY continues to

desire and intends to visit the Defendant’s premises but continues to be denied full,

safe and equal access due to the barriers to access that continue to exist.

      4.      The Defendant, LGP REALTY HOLDINGS LP, is a foreign limited

partnership registered to do business and, in fact, conducting business in the State of

Alabama. Upon information and belief LGP REALTY HOLDINGS LP, (hereinafter

referred to as “LGP”) is the owner, lessee and/or operator of the real property and

improvements that are the subject of this action, specifically: the Marathon Gas

Station and Convenience Store, located at 2224 Center Point Parkway in

                                           2
           Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 3 of 7




Birmingham Alabama (hereinafter referred to as the "Store").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Store

owned by LGP is a place of public accommodation in that it is a convenience store

operated by a private entity that provides goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Store in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Store owned by LGP. Prior

to the filing of this lawsuit, Plaintiff personally visited the Store at issue in this

                                          3
         Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 4 of 7




lawsuit and was denied access to the benefits, accommodations and services of the

Defendant’s premises and therefore suffered an injury in fact as a result of the

barriers to access listed in Paragraph 11, below, that she personally encountered. In

addition, Plaintiff continues to desire and intends to visit the Store, but continues to

be injured in that she is unable to and continues to be discriminated against due to

the barriers to access that remain at the Store in violation of the ADA. FENDLEY

has now and continues to have reasonable grounds for believing that she has been

and will be discriminated against because of the Defendant’s, deliberate and

knowing violations of the ADA.

      10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.    LGP is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302

et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:

             i.     The sole parking place with some indicia of accessibility lacks
                    an adjacent access aisle necessary for a wheelchair user;

             ii.    The sole parking space with some indicia of accessibility is not
                    designated as accessible with raised signage;




                                           4
         Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 5 of 7




             iii.    There is no accessible route to enter the Store as the Store is
                     surrounded by a continuous curb and no ramp is provided;

             iv.     The toilet rooms are not wheelchair accessible and are not
                     designated with accessible signage;

             v.      The toilet room entry doors are too narrow for a wheelchair
                     user and lack wheelchair accessible hardware and locking
                     mechanisms;

             vi.     The toilet rooms lack grab bars at the water closets and there is
                     insufficient clear floor space for a wheelchair user to access the
                     water closets;

      12.    There are other current barriers to access and violations of the ADA at

the Store owned and operated by LGP that were not specifically identified herein as

the Plaintiff is not required to engage in a futile gesture pursuant to 28 C.F.R. Part

36, §36.501 and, as such, only once a full inspection is performed by Plaintiff or

Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

LGP was required to make its Store, a place of public accommodation, accessible to

persons with disabilities by January 28, 1992. To date, LGP has failed to comply

with this mandate.

                                            5
         Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 6 of 7




      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against LGP and requests the

following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

                                           6
       Case 2:23-cv-01315-SGC Document 1 Filed 10/03/23 Page 7 of 7




           E.    That the Court award such other and further relief as it
                 deems necessary, just and proper.

     Dated this 3rd day of October, 2023.

     Respectfully submitted,

                                            By: /s/ Edward I. Zwilling
                                            Edward I. Zwilling, Esq.
                                            AL State Bar No.: ASB-1564-L54E

OF COUNSEL:

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                                       7
